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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 21-CR-175 (TJK)
                                             :
ETHAN NORDEAN,                               :
also known as “Rufio Panman,”                :
JOSEPH BIGGS,                                :
ZACHARY REHL, and                            :
CHARLES DONOHOE,                             :
                                             :
                      Defendants.            :

                       NOTICE IN RESPONSE TO COURT ORDER

       Earlier today, during the Court’s oral ruling on the government’s motions to revoke the

pretrial release of defendants Ethan Nordean and Joseph Biggs, see Doc. 30 and 31, the Court

ordered the government to supplement the record regarding those motions with a photograph that

was made available to the Court in a related case, United States v. Dominic Pezzola, 1:21-cr-52.

       In compliance with the Court’s order and to ensure that the photograph is made part of the

record as to each of the defendants in this case, the government is submitting with this notice a

copy of the government’s memorandum in support of pretrial detention in the Pezzola case. The

photograph referenced by the Court during today’s oral ruling is contained on page 12 of the

memorandum. The photograph is also displayed immediately below.
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                     Respectfully submitted,
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                     Acting United States Attorney
                     D.C. Bar No. 415793

                     /s/ Luke M. Jones
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                                CERTIFICATE OF SERVICE

       I certify that a copy of the government’s motion and proposed order were filed on ECF

and served by email to the following defense counsel:


                                    Shaka M. Johnson, Esq.
                                    shaka@shakajohnsonlaw.com



                                            /s/ Luke M. Jones
                                            LUKE M. JONES, VA Bar No. 75053
                                            Assistant United States Attorney


Date: April 19, 2021




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